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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

                                  )
DAVID O'CONNELL, individually and )
on behalf of all others similarly )
situated,                         )
                                  )
              Plaintiff,          )
                                  )
              v.                  )              No. 20-cv-1365 (KBJ)
                                  )
UNITED STATES CONFERENCE OF )
CATHOLIC BISHOPS,                 )
                                  )
              Defendant.          )
                                  )

               ORDER FOR INITIAL SCHEDULING CONFERENCE

       The above-captioned case has been assigned to this Judge for resolution. It is

hereby ORDERED that the Initial Scheduling Conference be set for Thursday,

September 17, 2020, at 10:00 AM in Courtroom 17. Counsel who attend must be

sufficiently familiar with the case to answer any questions that arise. Parties are

welcome and are encouraged to attend the Initial Scheduling Conference and all

subsequent proceedings.

       In accordance with Rule 16.3(a) of the Local Civil Rules and Federal Rule of

Civil Procedure 26(f)(1), counsel shall confer in person or by telephone at least 21 days

prior to the date of the Initial Scheduling Conference to discuss with particularity each

party’s position on the scope of discovery necessary for the case, as well as the matters

outlined in Local Civil Rule 16.3(c). In order to better frame their discussion regarding

the scope of discovery, prior to the meeting counsel shall exchange Early Rule 34

Requests. See Fed. R. Civ. P. 26(d)(2). Pursuant to Local Civil Rule 16.3(d) and

Federal Rule of Civil Procedure 26(f)(2), Counsel shall submit to the Court no later
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than 14 days following their meeting—i.e., no fewer than 7 days prior to the date of the

Initial Scheduling Conference—a joint Report that, among other things: (1) outlines a

detailed discovery plan as described in Fed. R. Civ. P. 26(f)(3); (2) addresses all topics

listed in Local Civil Rule 16.3(c), EXCEPT for the pretrial conference date (LCvR

16.3(c)(12)) and the issue of when the Court should set a firm trial date (LCvR

16.3(c)(13)); and (3) sets forth a proposed scheduling order. See LCvR 16.3(d).

Counsel are also directed to include in their Report a brief statement of the case and the

statutory basis for all causes of action and defenses.

       This Court generally will not permit the parties to waive Rule 26(a)(1) initial

disclosures. Any party who objects to exchanging initial disclosures on the grounds

that “initial disclosures are not appropriate in this action,” see Fed. R. Civ. P.

26(a)(1)(C), shall state with specificity the grounds for its objection in the Report.

       In considering a discovery schedule under Local Civil Rule 16.3(c)(8), counsel

should be guided by the schedules contained in the Appendix to this Order. Counsel are

also reminded that Federal Rule of Civil Procedure 26(f) requires discussion of issues

related to the discovery of electronically stored information, preservation of

discoverable information, and assertions of privilege or of protection of trial-

preparation materials, including consideration of whether to seek an order reflecting an

agreement of the parties regarding the procedure for asserting such claims after

production. See Fed. R. Civ. P. 26(f)(3).

       In considering what form of alternative dispute resolution may be most suitable

as required by Local Civil Rule 16.3(5), counsel are encouraged to consider mediation,




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arbitration, early neutral evaluation, and any other form of alternative dispute resolution

that can be tailored to the needs of their case.


Date: July 9, 2020                         Ketanji Brown Jackson
                                           KETANJI BROWN JACKSON
                                           United States District Judge




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                                                                           APPENDIX

                                  Discovery Schedules

      The following schedules are guidelines that are usually followed by the Court.

Variations may be appropriate in light of individual case differences. All time-frames

are calculated from the date of the initial scheduling conference.


                         Expedited Cases        Standard Cases       Complex Cases
 Initial Disclosures          14 days               30 days              60 days
 Deadline for Post-           30 days               45 days              90 days
 R. 26(a) Discovery
 Requests
 Proponent’s R.                 N/A                 60 days             120 days
 26(a)(2) Statements
 Opponent’s R.                  N/A                 90 days             150 days
 26(a)(2) Statements
 All discovery                60 days               120 days            180 days
 closed
 Limits on number               12                     25                   25
 of interrogatories
 per party
 Limits on number                3                      5                   10
 of depositions per
 side




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